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AO 245B         (Rev. 09/08) Judgment in a Criminal Case
v1                      6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                           SOUTHERN DISTRICT OF IOWA
               81,7('67$7(62)$0(5,&$                                               JUDGMENT IN A CRIMINAL CASE
                                    v.
                     Michael Joseph Corcoran II                                       &DVH1XPEHU 4:24-cr-00095-001
                          a/k/a "Mikey"
                                                                                      8601XPEHU 32516-511
                            a/k/a "Ikee"
                                                                                       Elisabeth A. Tursi
                                                                                      'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        Two and Five of the Indictment filed on July 16, 2024.
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

The defendant is adjudicated guilty of these offenses:

Title & Section        ?           Nature of Offense                                                                          Offense Ended                           Count

 18 U.S.C. § 933(a)(3),              Firearms Trafficking Conspiracy                                                             04/26/2024                            Two

 933(b)



 18 U.S.C. §§ 922(g)(1),             Felon in Possession of a Firearm                                                            04/26/2024                            Five
 924(a)(8)
     See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 7              RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G                One                                         ✔LV
                                                             G       G DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                            February 26, 2025
                                                                            'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                            Signature of Judge

                                                                            Stephanie M. Rose, Chief U.S. District Judge
                                                                            1DPHRI-XGJH7LWOHRI-XGJH


                                                                            February 26, 2025
                                                                            'DWH
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AO 245B          (Rev. 09/08) Judgment in a Criminal Case
v1                       Sheet 2 — Imprisonment

                                                                                                                         Judgment Page: 2 of 7
 DEFENDANT: Michael Joseph Corcoran II a/k/a "Mikey" a/k/a "Ikee"
 CASE NUMBER: 4:24-cr-00095-001


                                                                     IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
     63 months as to Counts Two and Five, to be served concurrently with each other and consecutive to any undischarged term of
     imprisonment in Iowa District Court for Polk County Docket Number FECR372586.



        ✔
        G The court makes the following recommendations to the Bureau of Prisons:
     The defendant be placed at FCI Greenville, FCI Sandstone, or FCI Oxford, as well as be afforded the opportunity to participate in the 500-hour
     residential drug abuse program (RDAP), UNICOR, and any available vocational training, as to commensurate with his classification needs.


        ✔ The defendant is remanded to the custody of the United States Marshal.
        G

        G The defendant shall surrender to the United States Marshal for this district:

            G at                                            G a.m.      G p.m.       on

            G as notified by the United States Marshal.

        G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before                    on

            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.

                                                                           RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                                to

 a                                                           , with a certified copy of this judgment.



                                                                                                            UNITED STATES MARSHAL


                                                                                   By
                                                                                                         DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
v1                   Sheet 3 — Supervised Release

                                                                                                                Judgment Page: 3 of 7
DEFENDANT: Michael Joseph Corcoran II a/k/a "Mikey" a/k/a "Ikee"
CASE NUMBER: 4:24-cr-00095-001
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Three years as to Counts Two and Five, to be served concurrently.




                                                        MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             G The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.     G You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     G✔You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
          are a student, or were convicted of a qualifying offense. (check if applicable)
7.     G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
v1                    Sheet 3A — Supervised Release

                                                                                                                     Judgment Page: 4 of 7
 DEFENDANT: Michael Joseph Corcoran II a/k/a "Mikey" a/k/a "Ikee"
 CASE NUMBER: 4:24-cr-00095-001


                                         STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
 4.    You must answer truthfully the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.gov.

 Defendant's Signature                                                                                    Date
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AO 245B         (Rev. 09/08) Judgment in a Criminal Case
                        Sheet 3D — Supervised Release
v1

                                                                                                                    Judgment Page: 5 of 7
DEFENDANT: Michael Joseph Corcoran II a/k/a "Mikey" a/k/a "Ikee"
CASE NUMBER: 4:24-cr-00095-001

                                             SPECIAL CONDITIONS OF SUPERVISION
     You must participate in a program of testing and/or treatment for substance abuse, as directed by the Probation Officer, until such time
     as the defendant is released from the program by the Probation Office. At the direction of the probation office, you must receive a
     substance abuse evaluation and participate in inpatient and/or outpatient treatment, as recommended. Participation may also include
     compliance with a medication regimen. You will contribute to the costs of services rendered (co-payment) based on ability to pay or
     availability of third party payment. You must not use alcohol and/or other intoxicants during the course of supervision.

     You must not patronize business establishments where more than fifty percent of the revenue is derived from the sale of alcoholic
     beverages.

     You must submit to a mental health evaluation. If treatment is recommended, you must participate in an approved treatment program
     and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient treatment and/or compliance with
     a medication regimen. You will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third
     party payment.

     You will submit to a search of your person, property, residence, adjacent structures, office, vehicle, papers, computers (as defined in 18
     U.S.C. § 1030(e)(1)), and other electronic communications or data storage devices or media, conducted by a U.S. Probation Officer.
     Failure to submit to a search may be grounds for revocation. You must warn any other residents or occupants that the premises and/or
     vehicle may be subject to searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when
     reasonable suspicion exists that you have violated a condition of your release and/or that the area(s) or item(s) to be searched contain
     evidence of this violation or contain contraband. Any search must be conducted at a reasonable time and in a reasonable manner. This
     condition may be invoked with or without the assistance of law enforcement, including the U.S. Marshals Service.
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
v1                   Sheet 5 — Criminal Monetary Penalties

                                                                                                                    Judgment Page: 6 of 7
DEFENDANT: Michael Joseph Corcoran II a/k/a "Mikey" a/k/a "Ikee"
CASE NUMBER: 4:24-cr-00095-001
                                               CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 G Pursuant to 18 U.S.C. § 3573, upon the motion of the government, the Court hereby remits the defendant's Special Penalty
     Assessment; the fee is waived and no payment is required.
             Assessment            Restitution            Fine                       AVAA Assessment*               JVTA Assessment**
TOTALS $ 200.00                        $0.00                 $ 0.00               $ 0.00                         $ 0.00

G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.
G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                     Total Loss***            Restitution Ordered      Priority or Percentage




TOTALS                                                                             $0.00                    $0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the            G fine   G restitution.
     G the interest requirement for the          G fine       G restitution is modified as follows:


*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
v1                   Sheet 6 — Schedule of Payments

                                                                                                                           Judgment Page: 7 of 7
DEFENDANT: Michael Joseph Corcoran II a/k/a "Mikey" a/k/a "Ikee"
CASE NUMBER: 4:24-cr-00095-001

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ✔ Lump sum payment of $ 200.00
     G                                                         due immediately, balance due

          G not later than                                          , or
          ✔ in accordance
          G                             G C,        G D,      G       E, or     ✔ F below; or
                                                                                G
B    G Payment to begin immediately (may be combined with                     G C,       G D, or      G F below); or
C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
          All criminal monetary payments are to be made to:
          Clerk’s Office, United States District Court, P.O. Box 9344, Des Moines, IA 50306-9344.
          While on supervised release, you shall cooperate with the United States Probation Office in developing a monthly payment plan,
          which shall be subject to the approval of the Court, consistent with a schedule of allowable expenses provided by the United
          States Probation Office.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                                       Joint and Several                Corresponding Payee,
     (including defendant number)                           Total Amount                         Amount                          if appropriate




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
      a Glock model 19, nine-millimeter pistol (serial number CCAX660), as outlined in the Preliminary Order of Forfeiture fuled on
      January 16, 2025.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
